                  Case 23-11131-TMH              Doc 575       Filed 10/17/23        Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    AMYRIS, INC., et al.,                                             ) Case No. 23-11131 (TMH)
                                                                      )
                                               Debtors.1              ) (Jointly Administered)
                                                                      )


      NOTICE OF SERVICE OF THE DEBTORS’ REQUESTS FOR PRODUCTION OF
     DOCUMENTS TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    AND JEFFERIES LLC IN CONNECTION WITH APPLICATION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN ORDER
     AUTHORIZING THE RETENTION AND EMPLOYMENT OF JEFFERIES LLC AS
      INVESTMENT BANKER PURSUANT TO 11 U.S.C. §§ 328(A) AND 1103(A), ETC.

                   PLEASE TAKE NOTICE that on the 16th day of October, 2023, a true and

correct copy of The Debtors’ Requests for Production of Documents to the Official Committee of

Unsecured Creditors and Jefferies LLC in Connection with Application of the Official Committee

of Unsecured Creditors for Entry of an Order Authorizing the Retention and Employment of

Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Etc. was

served on the individual(s) listed below as and in the manner indicated:


                                [Remainder of Page Intentionally Left Blank]




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.



DOCS_DE:245375.1 03703/004
                Case 23-11131-TMH     Doc 575     Filed 10/17/23   Page 2 of 2




 Email
 (Counsel to the Official Committee of Unsecured Creditors)
 Samuel P. Hershey, Esq.
 White & Case LLP
 1221 Avenue of the Americas
 New York, NY 10020
 Email: sam.hershey@whitecase.com

 Email
 (Counsel to Jefferies LLC)
 Dennis O’Donnell, Esq.
 DLA Piper LLP (US)
 1251 Avenue of the Americas, 27th Floor
 New York, NY 10020-1104
 Email: dennis.odonnell@us.dlapiper.com



                                               PACHULSKI STANG ZIEHL & JONES LLP
 Dated: October 17, 2023
                                               /s/ James E. O’Neill
                                               Richard M. Pachulski (admitted pro hac vice)
                                               Debra I. Grassgreen (admitted pro hac vice)
                                               James E. O’Neill (DE Bar No. 4042)
                                               Jason H. Rosell (admitted pro hac vice)
                                               Steven W. Golden (DE Bar No. 6807)
                                               919 N. Market Street, 17th Floor
                                               P.O. Box 8705
                                               Wilmington, DE 19899-8705 (Courier 19801)
                                               Telephone: (302) 652-4100
                                               Facsimile: (302) 652-4400
                                               Email: rpachulski@pszjlaw.com
                                                       dgrassgreen@pszjlaw.com
                                                       joneill@pszjlaw.com
                                                       jrosell@pszjlaw.com
                                                       sgolden@pszjlaw.com

                                               Counsel to the Debtors and Debtors in Possession




                                              2
DOCS_DE:245375.1 03703/004
